         Case 2:23-cv-00024-AM Document 18-3 Filed 08/25/23 Page 1 of 1




                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                 DEL RIO DIVISION


STATE OF TEXAS,                               §
                                              §
       Plaintiff,                             §
 v.                                           §
                                              § Case No. 2:23-CV-00024-AM
ALEJANDRO MAYORKAS,                           §
Secretary of Homeland Security, et al.,       §
                                              §
       Defendants.                            §

                                          ORDER

       The Court, having considered Defendants’ Motion for Leave to File Dispositive Motion

in Excess of Twenty Pages, determines that the Motion shall be GRANTED.

       IT IS, THEREFORE, ORDERED that Defendants’ Motion to Dismiss and

accompanying Appendix be accepted for filing with the Court.

       SIGNED and ENTERED this _______ day of ________________, 2023.


                                                          _____________
                             CHIEF U.S. DISTRICT JUDGE ALIA MOSES
